Patrick J. Murphy, WSB No. 7-1779
Scott C. Murray, WSB No. 7-4896
WILLIAMS, PORTER, DAY & NEVILLE, P.C.
159 N. Wolcott, Ste. 400
P.O. Box 10700 (82602)
Casper, WY 82601
Email: pmurphy@wpdn.net
        smurray@wpdn.net

                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF WYOMING


BCB CHEYENNE LLC d/b/a BISON                   )
BLOCKCHAIN, a Wyoming limited liability        )
Company,                   .                   )
                                               )
        Plaintiff,                             )
                                               )
v.                                             )       Civil No. 23-CV-79
                                               )
MINEONE WYOMING DATA CENTER,                   )
LLC, a Delaware limited liability company;     )
MINEONE PARTNERS LLC, a Delaware               )
limited liability company; TERRA CRYPTO )
INC., a Delaware corporation; BIT ORIGIN, )
LTD, a Cayman Island Company;                  )
SONICHASH LLC, a Delaware limited              )
liability company; and JOHN DOES 1-20,         )
related persons and companies who control      )
or direct some or all of the named Defendants, )
                                               )
        Defendants.                            )


                     PLAINTIFF’S ANSWER TO DEFENDANTS’
                  FIRST, SECOND, AND THIRD COUNTERCLAIMS


       COMES NOW Plaintiff BCB Cheyenne LLC d/b/a Bison Blockchain (“Plaintiff”

or “BCB”), through its counsel, and hereby serves its Answer to Defendants’ First, Second,

and Third Counterclaims as follows:

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                    DEFENDANTS’ FIRST COUNTERCLAIM
             (Breach of Contract Against Plaintiff BCB Cheyenne LLC)

                              FACTUAL BACKGROUND


       1. Answering Paragraph 1 of the Defendants’ First Counterclaim, Plaintiff admits

the allegations in the first four sentences; Plaintiff admits the allegation, in the fifth

sentence, that “The individuals involved in the crypto mining business are called miners,”

but denies the allegations in the remainder of the fifth sentence.

       2. Plaintiff lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 2. To the extent any response is required, Plaintiff denies

the same. Plaintiff admits “there is a finite number of Bitcoins available.”

       3. Plaintiff denies the allegations in Paragraph 3 of the Defendants’ First

Counterclaim. Additionally, the miner is not required to solve a computational problem

chaining blocks of transactions. This task is performed by powerful computers, commonly

known as ASICs.

       4. Plaintiff admits in part and denies in part the allegations in Paragraph 4 of the

Defendants’ First Counterclaim. Plaintiff admits computers are needed to mine Bitcoin,

but in cases with individuals and small Bitcoin mining operations, “lots of electricity” is

not needed to mine Bitcoin. For example, individuals operating a single computer in their

garage to mine Bitcoin, or a small-scale Bitcoin miner operating several dozen computers

are not using “lots of electricity.” In these instances, which are more the exception than the

norm in Bitcoin mining, relatively little funding, experience, and expertise is needed. “Lots

of electricity” is needed to mine for Bitcoin in instances of heavy-load industrial scale


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Bitcoin mining facilities and operations like that at the North Range and Campstool sites

where thousands of computers are using many megawatts of electrical power – in this case,

75 megawatts of power – to mine for Bitcoin. Building industrial scale Bitcoin mining

facilities and operations (with several hundred to thousands of computers mining Bitcoin)

requires significant capital investment, “lots of electricity,” and experienced, expert

individuals to manage and operate such industrial sized facilities.

       5. Plaintiff admits the allegation in Paragraph 5 of the Defendants’ First

Counterclaim.

       6. Answering Paragraph 6 of the Defendants’ First Counterclaim, Plaintiff lacks

knowledge or information sufficient to form a belief as to the truth of whether ASIC

facilities were launched in approximately 2012. Plaintiff admits that ASIC computers have

the power to be far more powerful than the basic graphics unit (“GPU”), but deny the other

allegations in the first sentence of Paragraph 6. Plaintiff admits the allegations in the

second sentence of Paragraph 6.

       7. Plaintiff lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 7 of the Defendants’ First Counterclaim, and further aver

that Defendants did not define the terms “very expensive” and “significant power

consumption and electricity.”      However, Plaintiff acknowledges that for large-scale

Bitcoin mining operations, like the North Range facility, the cost of ASIC mining rigs and

the cost of electricity are two of the most significant financial expenditures.

       8. Answering Paragraph 8 of the Defendants’ First Counterclaim, Plaintiff admits

the allegation that, on or about June 9, 2022, Plaintiff and Defendants entered into their

DHS Agreement. Additionally, in order for Plaintiff to enter into the DHS Agreement with

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Defendants, the Defendants required that Plaintiff also enter into a Consultancy Services

Agreement with Terra Crypto Inc. At the same time, Defendants also provided Plaintiff

with a Side Letter regarding “Digital Mining Facilities - Right of First Refusal,” which was

considered an integral part of the definitive deal documents.

       9. Answering the first sentence of Paragraph 9 of Defendants’ First Counterclaim,

Plaintiff lacks knowledge or information sufficient to form a belief as to whether it

represented to Defendants it was a “community-focused crypto developer,” however,

Plaintiff admits it represented to Defendants that it was “in the business of providing

operation, maintenance, and hosting of digital currency mining services through (among

other things) its use of certain infrastructure and utilities required for the mining of digital

currency” as that language appears in the second recital of the DHS Agreement.

Answering the second sentence of Paragraph 9 of Defendants’ First Counterclaim, Plaintiff

admits that it promised Defendants it would be the local operator of the facilities, however,

Plaintiff denies that it promised Defendants it would be the “most efficient blockchain data

center” in     Wyoming.        Plaintiff acknowledges that its          website located at

https://bisonblockchain.com says “We set out to be the largest, most efficient blockchain

company in Wyoming,” however, that text was not published on the website until July 9,

2022 (which is a month after the DHS Agreement was signed). To the extent Plaintiff

made any verbal representations to Defendants regarding efficiencies, it most likely would

have been in the context of recommending the installation and use of smart power

distribution units (PDUs) and ASIC management software in the facility.

       10.    Answering the first sentence of Paragraph 10 of Defendants’ First

Counterclaim, Plaintiff admits the allegation that Defendants emphasized to Plaintiff that

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it was important for Defendants to start their mining operations as soon as possible.

Plaintiff denies the allegations in the second and third sentences of Paragraph 10 of

Defendants’ First Counterclaim. Defendants indicated that August 2022 was when it

would like to begin mining operations, but Plaintiff never agreed to start mining operations

by this date (given the many factors outside of Plaintiff’s control that would be provided

by Defendants and Defendants’ other contractors and vendors).

       11.   Plaintiff denies the allegations in Paragraph 11a of Defendants’ First

Counterclaim. In order to energize the sites and begin crypto mining operations, many of

Defendants’ other contractors and vendors needed to have completed their important

contractual obligations to Defendants. For example, among other things, (i) CEGEN

needed to have completed the Modular Data Centers, (ii) Shermco needed to have

completed the site electrical work, and (iii) Black Hills Energy needed to complete its

facilities to provide electric power to the North Range site.

       Plaintiff denies the allegations in Paragraph 11b of the Defendants’ First

Counterclaim. In order to fulfill its contractual obligations to Defendants during the

Operations and Maintenance Phase (per Article II, Section 1.2 of the DHS Agreement),

Plaintiff needed to provide, among other things, (i) “Hosting [of] MineOne’s digital

currency mining Facilities,” (ii) “Management of daily operations of the Facilities,” and

(iii) “Hiring personnel or Subcontractors needed to ensure that MineOne’s operations are

always conducted properly and efficiently.”       In September 2022, in reliance of the

contractual agreements and promises Defendants had with its contractors and vendors for

a targeted completion of construction by the end of November, Plaintiff hired a competent

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and experienced miner, Stephen Randall, to serve as the site manager. Mr. Randall was

tasked with recruiting Wyoming locals to be hired as miners by Plaintiff and then training

those individuals with all the knowledge and skills necessary to perform Plaintiff’s

obligations for the Defendants. In order to develop a pipeline for local hiring, Plaintiff met

with officials from the City of Cheyenne (including the mayor), Cheyenne Chamber of

Commerce, the University of Wyoming, and Laramie County Community College.

Eventually, Plaintiff had over ninety resumes from interested job applicants (of whom 15

had made the shortlist). However, before Plaintiff could start spending money on payroll

for these miners (which would be its largest Phase 2 cost), the DHS Agreement (Article 1,

Section 3) required that Defendants and Plaintiff “agree on an operation & maintenance

budget (‘Phase 2 Budget’).” Plaintiff started on the Phase 2 budget in December 2022 and

worked on it throughout January 2023 and February 2023. Plaintiff made multiple requests

of Defendants to schedule a meeting to discuss the Phase 2 budget (see Paragraphs 160,

161, 166 of Plaintiff’s Complaint), but Plaintiff did not receive a response from

Defendants. Plaintiff was ready and prepared to hire and train miners to work at the North

Range facility, but Plaintiff did not hire a full staff of miners because Defendants had not

approved the Phase 2 budget.

       12. Answering Paragraph 12 of the Defendants’ First Counterclaim, Plaintiff denies

that there were two components under the DHS Agreement. In fact, there were many more

than two components required by the DHS Agreement to complete the construction of the

crypto mining facilities.    Further answering Paragraph 12 of the Defendants’ First

Counterclaim, Plaintiff admits that, among other things, funding for the mining equipment

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and construction was the responsibility of the Defendants. Further answering Paragraph

12 of the Defendants' First Counterclaim, Plaintiff denies the construction buildout was to

be fully managed by Plaintiff, however, Plaintiff does admit it was appointed as project

manager. Plaintiff’s specific obligations as project manager are in the DHS Agreement

(Article 1, Section 6.2); nowhere in the DHS Agreement does it state or imply the

“construction buildout is to be fully managed by Plaintiff.” Rather, Defendants contracted

with other contractors and vendors to provide services for specific parts of the facility. For

example, Defendants signed an agreement with (a) Shermco for Shermco to provide

construction management services and (b) CEGEN for CEGEN to provide modular data

centers, which included CEGEN providing project management of the buildout of the

modular data centers needed to mine Bitcoin.

       13. Plaintiff denies the allegations in Paragraph 13 of the Defendants’ First

Counterclaim. The DHS Agreement obligated Plaintiff to perform “...activities within its

control to enable MineOne and other users of the Facilities to conduct digital currency

mining activities in a proper and timely manner to ensure that CFCO occurs not later than

31 October 2022” (Article I, Section 6.2). Plaintiff and Defendants discussed August 2022

as a “desired” date to have the mining facilities completed, but Plaintiff never agreed that

it would have the mining facilities completed by that date. The only date ever agreed to

was October 31, 2022 per the DHS Agreement, but only for “all other reasonable related

activities within its control.” Further, even if Plaintiff had agreed to August 2022 (which

it did not), the DHS Agreement would have superseded that date given the language in

Article X, Section 9: “This [DHS] Agreement contains the entire understanding of the

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Parties with respect to the subject matter hereof and supersede all prior and

contemporaneous discussions, agreements and commitments between the Parties with

respect thereto and any prior and contemporaneous confidentiality agreements executed by

the Parties in respect of the transactions contemplated by this Agreement; and neither Party

has relied upon any representation, express or implied not contained in this Agreement.”

       Only now do Defendants seek to allege it was entirely Plaintiff's duty, responsibility

and obligation (i.e., contractual responsibility) to have the facilities “up and running.”

Defendants’ allegations are false and spurious.          Defendants intentionally fail to

acknowledge Defendants had contracts with contractors and vendors, including for

engineering, construction management, electrical install, data center construction, and

other scopes of relevant work to complete the project and have the site up and running.

Defendants intentionally fail to acknowledge their contractors and vendors did not properly

procure and send required data center components, electrical and mechanical equipment,

and other construction materials to the site on time to have the facilities up and running.

Defendants intentionally fail to acknowledge the contractual failure by Black Hills Energy

to provide Black Hills Energy facilities (i.e., the “interconnection”) by early November

2022 (and which was not completed until February 22, 2023) which was required for the

site to be fully up and running. Defendants intentionally fail to acknowledge the severe

Wyoming winter weather and its impact on Defendants' contractor and subcontractors to

have the site up and running. In all these instances, Defendants intentionally omit and fail

to acknowledge everything that was outside of Plaintiff's control to have the site up and

running, and now – after the fact – Defendants try to pin the responsibilities for the delays

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solely on Plaintiff, as opposed to where the contractual responsibilities actually rest: with

Defendants' other contractors and vendors, and factors entirely outside of Plaintiff's

control.

       The following is a partial list of the companies and items that were outside of

Plaintiff's control that caused the delays that Defendants wrongfully now try to pin on

Plaintiff:

             ● Black Hills Energy: Defendants contracted with Cheyenne Light, Fuel, and

                Power Company (a subsidiary of Black Hills Corporation, hereby referenced

                as “Black Hills Energy”) under a Blockchain Interruptible Electric Service

                Agreement (“BCIS Agreement”) dated and effective June 9, 2022. The

                Parties agreed (per Section 2.2 of the BCIS Agreement): “Not later than one

                hundred fifty (150) days after Customer [Defendants] provides notice to

                Company [Black Hills Energy] that it has closed on the real estate transaction

                for a parcel in the vicinity of the Company’s North Range substation, which

                is necessary to allow Customer [Defendants] to commence construction of

                its Facility and to further allow Company [Black Hills Energy] to commence

                construction of the facilities to be furnished by Company pursuant to this

                Article 2.2 of this Agreement, Company [Black Hills Energy] shall install

                and maintain, in approved standards of construction, all facilities on

                Company's [Black Hill Energy’s] side of the Point of Delivery which are

                necessary for the proper delivery of electrical power from Company’s [Black

                Hill Energy’s] North Range substation to the Point of Delivery. Company

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   [Black Hills Energy] will provide written notice to Customer [Defendants]

   when all facilities on Company’s [Black Hill Energy’s] side of each

   individual Point of Delivery are complete.”          Defendants, via Plaintiff,

   provided notice to Black Hills Energy on June 13, 2022 that it had closed on

   the real estate transaction for the North Range parcel. This obligated Black

   Hills Energy to provide all facilities on Black Hill Energy’s side of the point

   of delivery in order to deliver electric power to Defendants’ North Range

   parcel no later than November 10, 2022. Black Hills Energy provided notice

   to Defendants that final construction of Black Hills Energy’s facilities to the

   North Range parcel were complete on February 22, 2023. In no event could

   the North Range facility have been fully “up and running” for Bitcoin mining

   before February 22, 2023 without Black Hills Energy first completing its

   facilities to enable it to deliver 45 MWs of electric power to the site. Plaintiff

   had no control over when Black Hills Energy would provide 45MWs of

   electric power to the site for Bitcoin mining. Then, within several weeks after

   being notified (on February 22, 2023) that Black Hills Energy was capable

   and ready to provide 45MWs to the site for Bitcoin mining, the Defendants

   executed their plan to stop paying Plaintiff, take action to wrongfully remove

   Plaintiff from Phase 2 of the DHS Agreement (and its well-deserved and

   significant financial remuneration), and ultimately breached the DHS

   Agreement causing significant damage to Plaintiff.

● CEGEN: Defendants contracted with CEGEN Green Energy Ltd, a Canadian


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   company (“CEGEN”), via the Simplified Purchase Order Agreement

   effective July 21, 20022, and later modified via the First Amendment to the

   Simplified Purchase Order effective December 5, 2022, for ten Modular Data

   Center buildings at the North Range site that required complex and expensive

   heavy-load industrial scale electrical infrastructure and installation. CEGEN

   did not provide the ten Modular Data Centers by late October 2022 as

   indicated in its proposal (in fact, the first Modular Data Center was not

   completed until February 2023, and that was after a new contractor (Systems-

   MEC) was hired to fix the defects with CEGEN’s subcontractor’s (Master

   Controls) work). CEGEN failed to procure needed construction materials,

   build functional modular data centers, and perform its contractual

   obligations. CEGEN’s failures (and those of its subcontractors) were a

   primary reason for delays and additional costs to Defendants.

● Shermco: Defendants entered into a Consulting Management Master Service

   Agreement with Shermco Industries, Inc. (“Shermco”) on July 25, 2022 for

   consulting and engineering design services related to the project. Defendants

   later engaged Shermco for additional services through an Electrical Install

   Agreement (Purchase Order SIQ-17819-22) and a Construction Management

   Agreement (Purchase Order SIQ-11754-22), both signed on October 26,

   2022. Defendants intentionally fail to acknowledge that Shermco failed in its

   duties as the Construction Manager and in its role to perform Site Electrical

   Installation work to timely complete the project and was ultimately removed


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  and replaced with a new company, Systems-MEC. Shermco employs

  licensed engineers, licensed construction managers, and licensed electricians

  that were necessary to deliver the services under its contracts with

  Defendants. Other than the design of the data centers, which was CEGEN’s

  responsibility, all other project engineering or design, construction

  management, and site electrical installations were Shermco’s contractual

  duties and obligations, not Plaintiff’s.

● LCPD and LCDOB: Defendants intentionally fail to acknowledge an

  oversight by Laramie County Planning and Development (LCPD) and

  Laramie County Department of Buildings (LCDOB), which are the

  governing bodies responsible for development and construction approvals

  and permits in Laramie County where the North Range site is located.

  Plaintiff participated in a pre-engineering and development application

  meeting with LCPD and LCDOB on March 4, 2022, received follow up

  meeting notes from that meeting on March 24, 2022, and facilitated multiple

  discussions with LCPD and LCDOB to gain feedback prior to officially

  submitting a proposed site plan. Defendants eventually received a Certificate

  of Review and approval of the site plan from LCPD on June 13, 2022. The

  Certificate of Review for the approved site plan is a required step prior to

  submitting an application for a building permit and then commencing

  construction. After Defendants hired Shermco and made the contractor and

  vendor selections, Shermco performed engineering services to revise the


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overall site plan and data center layout as part of its engineered design. This

revised site plan was submitted to LCPD on August 17, 2022 and approved

by LCPD on August 18, 2022. Both the site plan approved on June 13, 2022

and the site plan approved August 18, 2022 properly reflect the location of

the existing water main on the property and should have been no surprise to

LCPD. On behalf of Defendants, Plaintiff submitted an application for a

building permit with the LCDOB on September 1, 2022, which included a

copy of the approved site plan, and later received a building permit on

September 14, 2022. However, on Friday October 28, 2022, after receiving

the appropriate approvals and amidst ongoing construction, Plaintiff received

a call from the LCPD expressing an issue the Board of Public Utilities

(“BOPU”) raised with the existing water main on the project site. LCPD

indicated that, now upon discovering of LCPD’s and LCDOB’s oversight of

the issue, construction would need to stop unless the project engineer

(Shermco) could come up with a solution to temporarily satisfy BOPU until

such solution for relocation, removal, or abandonment could be agreed upon.

Upon becoming aware of the issue, Plaintiff worked diligently to initiate

conversations with Lovas Engineering, Shermco, LCDOB, and BOPU to

work toward a plan for resolution. The resulting delays caused by the

oversight of LCPD and LCDOB was not because of anything that Plaintiff

did or could have reasonably known, anticipated, or controlled. Rather, the

governing body made a mistake.


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● Weather Delays: Defendants intentionally fail to acknowledge the severe

   weather conditions between November 2022 to March 2023, with historical

   record low temperatures and high winds occurring in December 2022. On

   numerous occasions during the Cheyenne, Wyoming winter months,

   temperatures and wind conditions were too severe for workers to be on the

   site. This caused delays, none of which were in Plaintiff's control. There

   were also numerous days where wind and snow conditions grinded

   construction progress to a halt, with outdoor conditions being difficult and

   unsafe to make progress with construction and electrical build-out of the

   modular data centers and electrical installation.      Further, on multiple

   occasions, the extreme weather in other parts of the state along critical

   stretches of Interstate highway caused road closures and delayed the arrival

   of infrastructure materials for the site, such as the SF6 switchgear, causing

   further delays.

● Defendants’ Funding and Liquidity: Under the DHS Agreement, Defendants

   were responsible for “Financing construction of the Facility or Facilities and

   other required infrastructure to achieve CFCO [full operations]” (Article I,

   Section 6.1(a)).   Over the course of construction, Defendants failed to

   provide timely payments, citing lack of available funds and liquidity with

   which to make payments. Defendants' alleged inability to meet its contractual

   funding obligations in the DHS Agreement appeared tied to price of Bitcoin

   and/or other holdings, where Defendants were not able to – or chose not to –


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              make payments when the price of Bitcoin (and/or other holdings) decreased

              or was too low for their comfort. Plaintiff never anticipated that Defendants’

              alleged inability to meet its contractual payment obligations would be tied to

              the price of Bitcoin (and/or other holdings), especially when Defendants had

              previously provided Plaintiff with proof of funds in USD on May 13, 2022.

              Defendants’ lack of funding, lack of liquidity, and/or decision to withhold or

              delay important payments to third parties to keep the project on schedule,

              contributed to delays with the buildout of the project. Now, Defendants try

              to recast their lack of funding, their reliance on liquidity tied to the price of

              Bitcoin (and/or other holdings), and/or their decision not to make payments

              on time to be Plaintiff's fault, though the DHS Agreement states it was

              Defendants’ contractual responsibility to provide funding for the

              construction and infrastructure of the project.

       Defendants were and are aware of many, if not all, of the aforementioned delays,

and specifically the delays caused by Defendants’ contractors and vendors. In his 3/13/23

email, Dr. Jiaming Li proposed to Plaintiff that he wanted to hire Plaintiff to address “legal

actions” involving “third parties.” Dr. Jiaming Li wrote, “Finally, we have set another two

tasks that can create additional funds for you. One is related to legal actions we will take

against third parties…” (see Exhibit B to Plaintiff's 5/3/22 Complaint). The third parties

Dr. Jiaming Li is most likely referring to are CEGEN and Shermco. Dr. Jiaming Li (or any

of the Defendants) made no mention or reference to any legal action toward Plaintiff at this

time (or any other time before Defendants filed their Counterclaims), because Plaintiff had

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performed its obligations under the DHS Agreement. Rather, Dr. Jiaming Li wanted to

recruit Plaintiff to assist Defendants in Defendants’ recovery of damages from Defendants’

other contractors and vendors, and they wanted to provide financial incentive for Plaintiff

to do so, as evidenced in Defendants’ proposed amendment to the DHS Agreement they

sent to Plaintiff on 5/13/22. Now, in response to the damages done to Plaintiff, Defendants

want to turn things back on Plaintiff by seeking to pin on Plaintiff both the contractual

obligations of Defendants’ other third-party contractors and vendors (Black Hills Energy,

CEGEN, Shermco, etc.) and other factors (weather delays, Defendants’ illiquidity, etc.),

all of which were outside of Plaintiff's control.

   14. Plaintiff denies the allegations in the first sentence of Paragraph 14 of the

Defendants’ First Counterclaim. Per the DHS Agreement, Plaintiff agreed to perform “all

other reasonable related activities within its control to enable MineOne and other users of

the Facilities to conduct digital currency mining activities in a proper and timely manner

to ensure that CFCO occurs not later than 31 October 2022.”           Answering the second

sentence of Paragraph 14 of the Defendants’ First Counterclaim, Plaintiff admits Michael

Murphy sent an email on April 23, 2022 that stated the provided text (which Defendants

excerpted from a longer email). However, as mentioned previously, these dates were initial

targets (and were not an “agreement” and were never a guarantee of performance). Further,

the Defendants failed to include text from the above referenced email that refers to the

schedule as “preliminary.”

       15. Plaintiff lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in Paragraph 15 of the Defendants’ First Counterclaim, and further,

Defendants do not define the terms “high,” “Bitcoin facility,” and “low-cost” making the

                                              16
allegations vague and ambiguous. For clarification, a 45MW Bitcoin hosting facility like

the North Range site would generally be considered a large-scale Bitcoin hosting facility

that consumes a significant amount of power. For Bitcoin mining facilities at such

industrial scale, it is important to minimize the cost of electricity because electricity is

typically the largest operational expense incurred while mining Bitcoin, and even small

price differences in the cost of electricity create material differences in the overall cost of

electricity (for example, for 45MW with 99% uptime, a savings of $0.001/KWh in the price

of electricity equates to annual savings of approximately $390,258).

       Plaintiff denies the second sentence of Paragraph 15 of the Defendants’ First

Counterclaim. Defendants desired the lowest cost of electricity possible and oftentimes

referred to $0.05/KWh as a target number. After reviewing historical electricity pricing

provided by Black Hills Energy, with the aim of increasing its chances of achieving this

target number, and before Defendants signed its BCIS Agreement with Black Hills Energy,

Defendants requested that Plaintiff negotiate a more favorable power pricing structure for

Defendants with Black Hills Energy, which Plaintiff did. This new structure would allow

Defendants to benefit from electricity priced below the Pricing Transition Point (whereas

in Plaintiff’s BCIS Agreement, there was a fixed floor price). While this new structure

increased the likelihood of achieving an electricity cost at or below the $0.05/KWH, it did

not guarantee it. For example, according to Defendants’ BCIS Agreement with Black Hills

Energy, in the event Black Hills Energy was unable to procure a block of power at a fixed

price for Defendants, Black Hills Energy would procure electricity at variable prices in the

day-ahead energy market. In such cases, there was no contractual guarantee that the price

of electricity in the day-ahead market would be at or below $0.05/KWh. Furthermore, the


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BCIS Agreement contained a provision that made it less likely to achieve $0.05/KWh

electricity after the first anniversary of the Commercial Operation Date (due to a

$0.0025/KWh increase in the Pricing Transition Point) and second anniversary of the

Commercial Operation Date (due to another $0.0025/KWh increase in the Pricing

Transition Point for the remainder of the BCIS Agreement term). Defendants were aware

of the pricing structure, and the likelihood it might not achieve its $0.05/KWh electricity

price target, in its BCIS Agreement.

      Furthermore, at no time did Plaintiff ever guarantee an electricity price at or below

$0.05KWh. Per the DHS Agreement (Article 2, Section 1.2), Plaintiff was obligated to

track “daily all costs and expenses for the Power Supply and evaluate and secure lower

price supply and coordinate with Terra to ensure the Power Supply tariff and fees paid are

the most favorable and cost-efficient.” The DHS Agreement did not require that Plaintiff

secure power at $0.05/KWh (because Plaintiff knew and told Defendants that it could not

guarantee the price of power), however, the DHS Agreement did provide an Energy Price

Savings performance incentive for Plaintiff to motivate it to assist Defendants in getting

the lowest electricity price possible from Black Hills Energy.         Plaintiff diligently

performed its obligations to “secure lower price supply” and “ensure the Power Supply

tariff and fees paid are the most favorable and cost efficient” through multiple emails and

phone calls with Black Hills Energy to discuss the possibility of Black Hills Energy

procuring a fixed price block of power for Defendants. As of mid-March 2023 (after

Defendants breached their DHS Agreement with Plaintiff and refused to pay Plaintiff for

two months of services rendered), there was a possibility of a fixed price block purchase

through Black Hills Energy which would have resulted in an electricity price below


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$0.05/KWh for a significant portion of Defendants' power needs at the North Range site.

Plaintiff does not know if this block, or any other blocks, were ever eventually purchased

by Black Hills Energy for Defendants.

       16. Answering Paragraph 16 of Defendants’ First Counterclaim, Plaintiff denies the

allegation that Murphy explained to Defendants that the desired electricity price (i.e., at or

below $0.05/KWh) was something Plaintiff could absolutely achieve. However, Plaintiff

admits that Murphy explained to Defendants that Plaintiff’s BCIS Agreement with the

electric utility (which was later amended and restated, and then terminated when

Defendants executed Defendants’ BCIS Agreement with Black Hills Energy) allowed for

a mixture of block and spot purchases. Plaintiff’s BCIS Agreement stated (in Section 4.1):

“Except where specifically indicated to the contrary in this Agreement, all energy procured

by Company [Black Hills Energy] to serve BCIS Customer Facility Load shall be procured

in the day-ahead market. Customer [Plaintiff] shall be permitted to work with Company

[Black Hills Energy] to procure blocks of power in advance of the above-stated

procurement deadline.” This same language was eventually included in Defendants’ BCIS

Agreement with Black Hills Energy as well.

       17. Answering Paragraph 17 of the Defendants’ First Counterclaim, Plaintiff denies

the allegation that Murphy wrote several emails to Defendants explaining Plaintiff’s

process to get the required electricity price. Plaintiff admits that Murphy did write several

emails explaining how Plaintiff’s BCIS Agreement with the electric utility worked, which

Plaintiff had provided to Defendants on March 9, 2022 via a shared document drive.

Further, Defendants had a “desired” electricity price, not a “required” electricity price. If



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Defendants “required” an electricity price of $0.05/KWh, then it should not have executed

its BCIS Agreement with Black Hills Energy without Black Hills Energy guaranteeing it

could purchase blocks of power at or below $0.05/KWh (which Black Hills Energy did not

guarantee).

      18. Plaintiff denies the allegations in Paragraph 18 of the Defendants' First

Counterclaim. Plaintiff admits that Murphy represented that he and Plaintiff had a good

working relationship with Black Hills Energy (from the time they had spent working

together over the previous 6-8 months on Plaintiff’s RFP application and eventual BCIS

Agreement). Plaintiff also admits that Plaintiff explained it was possible for Defendants

to get Defendants’ desired price (at or below $0.05/KWh) based on how Black Hills Energy

would procure electricity per the terms of Plaintiff’s BCIS Agreement with Black Hills

Energy (which called for electricity procurement in the day-ahead energy market and/or

via a block purchase). For example, in an email Murphy sent to Defendants on March 29,

2023, he stated “Regarding the electricity prices, those are determined by the PPA

(specifically Article 6). They are not able to be fixed contractually, but they can be fixed

operationally at the floor price by directing the power company to purchase large blocks

of power in advance (rather than only buying in the day ahead market). This would require

proactive work on your part (or our part, if you wanted us to be involved).”

      Generally speaking, in Paragraphs 15-18 and Paragraph 22 of Defendants' First

Counterclaim, Defendants reference the “required” electricity price and claim that Plaintiff

made representations it could “absolutely achieve” and was “very confident” it could get

that price, yet provide no evidence to support these mistaken claims. In doing so,


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Defendants want to show they relied on Plaintiff’s representations about the power price

and that Defendants signed its BCIS Agreement with Black Hills based on that reliance.

Such a reliance would be completely untrue. Defendants are highly-educated individuals,

particularly Dr. Erick Rengifo and Dr. Jiaming Li, who both hold PhDs in Economics.

Over the course of March-May 2022, Plaintiff and Defendants had multiple conversations

and exchanged multiple emails where Defendants documented their concerns about the

electricity price based on Plaintiff’s BCIS Agreement with the Black Hills Energy. Due to

Defendants’ concerns about the power price, they requested, and were provided with,

historical power pricing information. Based on Defendants’ analysis of the historical

pricing information, in conjunction with Plaintiff’s analysis of the historical pricing

information, Defendants directed Plaintiff to negotiate more favorable power pricing terms

with Black Hills Energy in the BCIS Agreement so that it would be more likely to achieve

an electricity price at or below the $0.05/KWh target, however, these terms did not include

a guarantee the electricity price would be below $0.05/KWh. Plaintiff did so, and secured

more favorable terms for Defendants, but again, there was no guaranteed electricity price.

Defendants were fully aware there was no guaranteed electricity price (even with the

updated terms) and eventually signed its BCIS Agreement with Black Hills Energy.

       19. Plaintiff denies the allegations in Paragraph 19 of the Defendants’ First

Counterclaim. As indicated in other responses, Plaintiff provided target dates (but never

guaranteed dates) for completion to the best of its knowledge based on information

provided by third party contractors and vendors, but no completion dates were ever agreed

to except for the date agreed to in the DHS Agreement, which was October 31, 2022, but


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only for “activities within its control.” Further, as explained in other responses herein,

delays and failures by Defendants' contractors, vendors, third parties, weather conditions,

and Defendants' funding – things entirely outside of Plaintiff's control – were the reason

the site was delayed and not completed in October 2022.

       Plaintiff consistently made Defendants aware that all dates were dependent, among

other factors, on Defendants’ selection of its data centers, major electrical components

(such as transformers and switchgear), data center components (including networking

equipment and PDU’s), completion of engineering (after the previous selections were made

by Defendants), approval of municipal permits (after completion of engineering), lead

times of all components and equipment, and construction progress. Any dates provided by

Plaintiff to Defendants were dates based on the direct representations of Defendants’

contractors and vendors, and were subject to change from time to time.

       20. Plaintiff denies the allegations in Paragraph 20 of the Defendants’ First

Counterclaim. The DHS Agreement does not indicate that it was required for Plaintiff’s

principals to be physically present at the facilities. However, Plaintiff was physically

present at the facilities for much of the buildout of the facilities. Further, Defendants hired

Shermco to provide construction management services for the buildout of the facilities,

specifically to provide “all construction management required for successful management

and completion of the project including but not limited to overall management of site,

processes, schedule, subcontractors, quality assurance, quality control, and inspections.

Shermco will not be responsible for inspections related to CryptoCache's [CEGEN’s]

scope of work” (SIQ-11754-22 – 45 MW NRBP (Cheyenne, WY) – Construction


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Management Scope, Revision 5, [Quote SIQ-11754-22 (Revision 5) Scope executed

October 26, 2022 & MSA executed 7-25-22). A Shermco construction management

representative was physically present at the facilities for much of the buildout of the

facilities. Further still, Defendants hired CEGEN to provide modular data centers. A

CEGEN construction manager was physically present at the site off and on during the

buildout of the facilities.

       21. Plaintiff denies the allegations in Paragraph 21 of the Defendants’ First

Counterclaim. Plaintiff informed Defendants that it (and its principals) had not built and

operated a crypto mining facility of this size. This is one of the reasons why Defendants

chose to hire and contract with its own contractors and vendors directly (rather than having

Plaintiff hire subcontractors and sub-vendors for the buildout of the facilities). This is also

why Defendants required Plaintiff to enter into a Consulting Services Agreement with

Terra Crypto Inc (in which Terra Crypto would get 20% of Plaintiff’s profits during the

lucrative Phase 2 of the project, which was estimated to be approximately $4M at the time).

Under the Consulting Agreement, Terra Crypto was obligated to “ensure that all the

processes, activities and tasks with regard to the building of the Facilities are developed in

a timely manner.” (Article 2, Section 1.2(b)). This contractually ensured that Defendants

could bring its purported experience (via Terra Crypto) to bear on the project (to make up

for Plaintiff’s lack of experience at that time). Terra Crypto was also obligated to “provide

expert support to [Plaintiff] as and when requested by MineOne and/or Company.” On

multiple occasions, Plaintiff requested expert support but it was not provided. One of the

most notable examples of Terra Crypto not providing support is on/around January 8, 2023


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when Dr. Rengifo (a) stopped attending the regular Monday/Wednesday/Friday meetings

between Plaintiff and Defendants and (b) significantly cut back on responding to emails.

On January 4, 2023, Bit Origin publicly announced the resignation of Dr. Rengifo as a

Director and its Chief Strategy Officer.

        Given that Plaintiff did not represent it had prior experience building a crypto

mining facility of this size, this could not have been any reason, let alone the major reason,

why Defendants chose to enter into the DHS Agreement with Plaintiff. Plaintiff believes

the major reason for Defendants entering into the DHS Agreement with Plaintiff is that

was the lowest upfront cost way for Defendants to get access to and profit from the valuable

power contract Plaintiff had worked to secure from Black Hills Energy, in addition to all

of the other work Plaintiff had performed to date to develop the project. Further, Plaintiff

presented several options to Defendants for getting access to the valuable power contract

and all of Plaintiff’s prior work, one of which was for Defendants to “buy out” Plaintiff, in

which case Plaintiff would no longer be involved in the project. Ultimately, Defendants

chose to retain Plaintiff’s services via the DHS Agreement (knowing full well that Plaintiff

had not built a facility and/or operated a facility of this size).

       22. Plaintiff denies the allegations in Paragraph 22 of the Defendants’ First

Counterclaim.     Securing the power supply and hiring personnel to perform mining

activities are both Phase 2 obligations of Plaintiff. Regarding the power supply, per the

DHS Agreement (Article 2, Section 1.2(k)), Plaintiff was required to track daily “all costs

and expenses for the Power Supply and evaluate and secure lower price supply and

coordinate with Terra to ensure the Power Supply tariff and fees paid are the most favorable


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and cost- efficient.” That was the only contractual requirement regarding the electricity

price to which Plaintiff was obligated to Defendants. Plaintiff fully performed this

obligation. Defendants, to further incentive Plaintiff to assist in securing a “lower price

supply” and that “Power Supply tariff and fees paid are the most favorable and cost-

efficient” provided Plaintiff with an Energy Price Savings incentive in the DHS Agreement

(Article 4, Section 4(i)). Regarding hiring personnel, per the DHS Agreement (Article 2,

Section 1.2(h)), Plaintiff was required to hire “personnel or Subcontractors needed to

ensure that MineOne’s operations are always conducted properly and efficiently.” Plaintiff

performed this obligation as documented in its response to Paragraph 11 of the Defendants’

First Counterclaim.

      23. Plaintiff denies the allegations in Paragraph 23 of Defendants’ First

Counterclaim.

      24. Plaintiff denies the allegations in Paragraph 24 of the Defendants’ First

Counterclaim. Plaintiff, as part of performing its DHS Agreement obligation of “all other

reasonable related activities within its control to enable MineOne and other users of the

Facilities to conduct digital currency mining activities in a proper and timely manner”

(Article I, Section 6.2(d)), performed research and presented options to Defendants for

many different contractors and vendors. Based on this research and presented options, and

other possible due diligence performed by Defendants, Defendants chose its contractors

and vendors and contracted with them directly. These contractors and vendors were not

sub-contractors of Plaintiff; there were/are direct contractors and vendors of Defendants.

Ultimately, Defendants bear responsibility for its selection of contractors and vendors.


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Defendants were not obligated to contract with any contractor or vendor presented by

Plaintiff, and on at least one occasion (for the purchase of transformers), it chose to contract

with a vendor unknown to Plaintiff.

       25. Plaintiff denies the allegations in Paragraph 25 of the Defendants’ First

Counterclaim. Plaintiff represented that the Murphy family was from Wyoming, that

Plaintiff was committed to creating local jobs in Cheyenne, and that it had begun the

process of developing its local job applicant pipeline (as mentioned earlier in Plaintiff’s

response to Paragraph 11).

       26. Plaintiff denies the allegations in Paragraph 26 of the Defendants’ First

Counterclaim. Please see Plaintiff’s response to Paragraph 21 of the Defendants’ First

Counterclaim for additional information. Plaintiff did have the expertise and know-how

needed to build and manage a digital crypto facility of this size. Multiple vendors and

service providers that Defendants contracted with acknowledged Plaintiff’s competency.

For example, Hodgie Teichmann of BCM Site Services, sent an email on March 16, 2023

that stated “Bison [Plaintiff] is one of the best organized and managed groups we have

experienced in the digital currency industry.”

       27. Plaintiff denies the allegations in Paragraph 27 of the Defendants’ First

Counterclaim. See Plaintiff’s response to Paragraph 18 for further information about the

alleged “promised electric rates.” Up until Defendants breached the DHS Agreement, and

for a time thereafter, Plaintiff diligently performed its obligations under the DHS to “secure

lower price supply and coordinate with Terra to ensure the Power Supply tariff and fees

paid are the most favorable and cost- efficient.” Plaintiff was in regular communication

with Black Hills Energy, inquiring about blocks of power and monitoring the price of

                                              26
power in the day-ahead energy markets. At the time of Defendants’ breach of the DHS

Agreement, there was a potential block of power available below Defendants’ desired price

of $0.05/KWh. Plaintiff does not know if Defendants were able to secure this block, or

some other block of power, from Black Hills Energy.

       Defendants primarily breached the DHS Agreement (by verbal statements, a

proposed written amendment to the DHS Agreement, and by numerous actions) by

replacing Plaintiff as the operator of the sites to save themselves millions of dollars during

Phase 2. Defendants wrongfully attempted to get Plaintiff to agree to Plaintiff’s removal

as the site operator via an amendment to the DHS Agreement (because Defendants knew

they were breaching the DHS Agreement by removing Plaintiff) by withholding payment

to Plaintiff for several months of prior services rendered and invoiced, which was within

the approved budget, unless Plaintiff signed the amendment. At that point, Plaintiff had

limited options, two of which were: (1) sign the amendment (knowing that Plaintiff would

forego millions of dollars of contractually promised consideration) in return for a payment

of less than half of what was owed for Plaintiff’s previous two months of services in Phase

1, and then continue forward in a non-operational role; or (2) not sign the amendment and

then exercise its legal rights. Plaintiff went with option 2 (not signing the amendment) and

proceeded forward with exercising its legal rights (rather than attempting to

negotiate/mediate with Defendants) because it was clear Defendants had already made up

their mind to replace Plaintiff (as evidenced by their team of Chinese nationals being on

site and the proposed amendment to the DHS Agreement they had sent to Plaintiff).

Defendants anticipatorily repudiated their DHS Agreement with Plaintiff, which


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repudiation was unwarranted, unjustified, and constitutes the first material breach of the

DHS Agreement.

       Even though Plaintiff left the project, it still desired that all stakeholders associated

with the project achieve success. After leaving the project, and with no promise of any

payment from Defendants for open and due invoices, Plaintiff sent over thirty-five emails

to all relevant contractors and vendors associated with the project to ensure a smooth hand-

off to Defendants. Plaintiff did this even though Defendants had breached its DHS

Agreement and was refusing to pay it for over two months of services.

       28. Answering Paragraph 28 of the Defendants' First Counterclaim, Plaintiff admits

that Defendants were required to deal with and negotiate directly with Black Hills Energy

after Plaintiff transitioned off the project as a result of Defendants’ breach of the DHS

Agreement and its refusal of payment to Plaintiff for services rendered. Plaintiff denies all

other allegations in Paragraph 28 of the Defendants’ First Counterclaim. It is important to

note that CEGEN and Shermco, and many of the other contractors and vendors on the

project, were/are Defendants’ contractors and vendors who Defendants contracted with

directly; they are not project “subcontractors.”

       29. Answering Paragraph 29 of the Defendants’ First Counterclaim, Plaintiff denies

the allegation that Plaintiff consistently showed its lack of experience, skills, and expertise

in the area of crypto mining and construction as time went on. To the contrary, Plaintiff

consistently demonstrated its experience, skills, and expertise in crypto mining as the

project developed. Defendants mistakenly claim that Plaintiff was responsible for the

obligations of Defendants’ other contractors and vendors, for example, Shermco’s



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obligation to manage the site construction and CEGEN’s obligation to provide the modular

data centers.     Plaintiff went above and beyond its contractual obligations and

responsibilities in the DHS Agreement to help Defendants’ other contractors and vendors

when they experienced delays, and to expedite the completion of construction of the site.

       30. Plaintiff denies the allegations in Paragraph 30 of the Defendants' First

Counterclaim. Plaintiff did not have any contractors or subcontractors on the project.

Defendants directly contracted with all of their own contractors and vendors. Defendants

are either oblivious to the contractual duties between them and their contractors and

vendors, or Defendants are aware of their contractual duties and are now intentionally

omitting these duties to ‘pass the contractual buck’ from their contractors and vendors to

Plaintiff. While Plaintiff presented certain contractors and vendors to Defendants as

options, it was Defendants who chose which contractors and vendors to contract with (as

evidenced by the agreements Defendants entered into with these contractors and vendors).

Plaintiff acknowledges several of Defendants’ contractors and vendors did not perform

their respective obligations as they were contractually required to do, and due to that,

among other things, the project encountered delays.

       Defendants are now trying to ‘rewrite history’ by mischaracterizing the delays,

contractor failures and circumstances outside of Plaintiff’s control as Plaintiff's “own

making.” In reality, when confronted by the shortcomings, delays, and difficulties created

by Defendants’ contractors and vendors, Plaintiff acted quickly, and proactively jumped in

to provide consistent support and troubleshooting of any issues and in helping find ways

to problem solve, expedite the project, and resolve the delays and difficulties. Plaintiff even

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hired additional staff prior to its Phase 2 obligations to support the increased demand for

coordination resulting from the failure of Defendants’ contractors, subcontractors, and

vendors.   Examples of Plaintiff fulfilling its contractual obligations under the DHS

Agreement, and in some cases going “above and beyond” those obligations, include, but

are not limited to, the following:

           ● Plaintiff instituted, attended, and kept records of daily Foreman Meetings for

              Defendants, and for Defendants’ contractors and subcontractors.

           ● Plaintiff instituted and led daily Procurement Meetings for Defendants, and

              for Defendants’ electrical and construction contractors and construction

              manager.

           ● Plaintiff instituted and delivered daily progress reports with pictures and

              updates to inform Defendants of site progress, status, and delays caused by

              Defendants’ contractors and vendors.

           ● Plaintiff held meetings with Defendants and Shermco to assist Shermco with

              its construction management contractual duties and responsibilities.

           ● Plaintiff consistently worked with Shermco to update and advance

              Shermco’s construction project plan (which included Plaintiff spending long

              hours with Shermco and Defendants to proactively address pressing issues

              raised daily and maintain flexibility to deliver on updated actionable plans

              upon Defendants’ requests).

           ● Plaintiff did everything in its control to push CEGEN (Defendants’ modular

              data center provider) to speed up shipments and procure required electrical

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   and construction materials to the North Range site.

● Plaintiff held meetings with Defendants and CEGEN to do everything in its

   control to help Defendants hold CEGEN accountable for CEGEN’s errors

   and delays.

● Plaintiff did everything in its control to push CEGEN to complete CEGEN’s

   contractual responsibilities to Defendants, specifically, to provide ten

   completed modular data centers for the North Range site.

● Following CEGEN’s and Shermco’s failures and delays, Plaintiff did

   everything in its control to help qualify and ramp-up Defendants’ newest

   contractor of choice, Systems-MEC.          Plaintiff quickly engaged with

   Systems-MEC in bringing them up to speed on the project, setting-up and

   running orientation, coordinating billing and payment workflows, and

   establishing update reports and meetings between Defendants and Systems-

   MEC, as well as communicating Defendants’ desire to remove Shermco from

   the project and facilitating the associated hand-off of construction

   management and site electrical installation from Shermco to Systems-MEC.

   Plaintiff's consistent oversight of onsite operations included daily site

   reviews and meetings with Defendants’ contractors and vendors to push all

   parties to get the needed material to the site in an attempt to expedite overall

   construction and completion of the project, and to document contractor

   delays and errors that affected the project completion and delivery.

● Plaintiff went above and beyond to perform many of the contractual


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   obligations of Defendants’ contractors and vendors including material

   sourcing, procurement, purchasing, deliveries to the site, and onsite

   management and coordination of onsite material storage.

● Plaintiff held long update and status meetings three times each week with

   Defendants (many of whom were in China) at/around 6am MPT to advise

   and inform Defendants of site progress, material purchasing, procurement,

   and the status and delays of Defendants’ contractors and vendors on the

   North Range site. Despite Plaintiff's efforts to go above and beyond its

   contractual obligations and provide a high level of service in circumstances

   beyond its reasonable control, it was not uncommon for Defendants to berate

   and blame Plaintiff for all the shortcomings of Defendants’ contractors and

   vendors on these calls.

● Plaintiff did everything in its control to help Defendants’ contractors and

   vendors overcome severe winter weather conditions impacting Defendants’

   contractors and vendors. Plaintiff devised and funded a method of enclosing

   the open sidewalls of the data centers with a foam board in order to allow for

   heaters to effectively provide some level of reasonable comfort, which was

   necessary to keep the Defendants’ contractors’ morale up and their crews to

   continue working inside the data centers through very harsh winter

   conditions. Plaintiff has not been fully reimbursed for all of its expenses to

   date.

● In addition to all of the efforts of Plaintiff to deliver an exceptional level of


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              service to Defendants, and despite the shortcomings of Defendants’

              contractors and vendors, Plaintiff did everything in its control to navigate

              communication challenges (with two-way translation between English and

              Mandarin Chinese) to inform Defendants about the status, delays, and

              failings of Defendants’ contractors and vendors on the North Range site.

      31. Plaintiff denies the allegations in Paragraph 31 of the Defendants’ First

Counterclaim. Plaintiff assisted Defendants by searching for and identifying contractors

and vendors for all aspects of the project, some of which Defendants contracted with for

services and supplies. Further, not only did Plaintiff assist Defendants with searching for

and vetting potential contractors and vendors, Plaintiff went above and beyond its

contractual responsibilities to help Defendants’ contractors and vendors when Defendants’

contractors and vendors were unable to perform to the terms of their respective agreements

with Defendants. For example, when Defendants’ contractor CEGEN was unable to

deliver the modular data centers – by the date CEGEN indicated CEGEN would do so –

Plaintiff found additional local labor that Defendants chose to hire to help speed up and do

the work that CEGEN was contractually responsible for.

      Ultimately, Defendants contracted with and hired all the vendors and suppliers on

the project. Defendants made the decision on who it contracted with and hired. Plaintiff

directly hired only three team members including the site manager, Stephen Randall.

Given Mr. Randall’s extensive experience and expertise with digital crypto currencies and

scaled Bitcoin mining, Defendants covertly attempted to solicit Mr. Randall to work for

Defendants, and then Defendants made a proposal to Mr. Randall for Mr. Randall to invest

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into the project for the benefit of the Defendants. Mr. Randall’s experience and expertise

operating large scale Bitcoin mining facilities is equal to, or exceeds, that of the

Defendants.

       32. Plaintiff denies the allegations in Paragraph 32 of the Defendants’ First

Counterclaim. Defendants contracted with multiple contractors and vendors to perform

different parts of the project work scope. Some of those contractors and vendors performed

to the terms of their respective agreements with Defendants. Some of those contractors

and vendors, such as CEGEN and Shermco, did not perform to the terms of their respective

agreements with Defendants. Only now do Defendants try to ‘pass the buck’ onto Plaintiff

for the delays and performance failings of Defendants’ contractors and vendors, and for

factors outside of Plaintiff's control.

       Further, Plaintiff acknowledges Defendants sent staff from Defendant Bit Origin’s

Indiana and Georgia bitcoin mining facilities, which included foreign nationals from China

and at least one illegal alien from Jamaica, to the North Range site. Many of the personnel

that Defendants sent to the North Range site interrupted and circumvented Defendants’

contractors and Plaintiff.    Defendants demanded changes to established construction

designs, engineering, and/or in items Plaintiff had discussed and received direction or

approval from Defendants on in their recurring Monday/Wednesday/Friday morning status

and update calls. For example, when the roofs for data centers 1, 2, 3, and 6 were under

construction, Mr. Zhang demanded Plaintiff work with him to change the roof design to

accommodate a hand sketch he had made. Despite Plaintiff's efforts to explain the impact

to the schedule and that the roof structure materials were already ordered and being


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delivered and installed according to the design, Mr. Zhang continued to demand the roof

be changed and said it could all be completed in a few days. The changes he was demanding

were significant and among other things, would require revised engineered drawings and

new approvals from the municipality. On another occasion, while Plaintiff was meeting

with Billy Inman, the owner of Inman Roofing, to discuss industry standard and accepted

flashing techniques for the data center roofs, Mr. Zhang interrupted the meeting, canceled

the scheduling of Inman Roofing to install the flashings, and said he and his guys will use

adhesive tape from China to cover any gaps where the flashing would go. Mr. Inman did

his best to explain to Mr. Zhang that Mr. Zhang’s plan would not meet required building

codes, likely would not pass inspection, and would put the expensive bitcoin mining

equipment at risk to the climate elements. Despite (i) Plaintiff's insistence for Mr. Zhang

and “his guys” to stand down because they were not licensed roofers, (ii) did not have

permission to operate other contractor roofing hoisting equipment, and (iii) were uninsured,

Mr. Zhang disregarded Mr. Inman and Plaintiff, and went ahead with his plan.

       Additionally, there are numerous examples of personnel that Defendants brought to

the North Range site sitting in Plaintiff's office — passing the time doing nothing – while

Plaintiff tried to motivate them to help work on the project. Then, when Mr. Zhang came

to the site – to proclaim his orders and demands – the personnel from China jumped into

action walking around the site telling licensed electricians and engineers how to do their

work. One example of Mr. Zhang’s tirades came during the orientation meeting where Mr.

Zhang was yelling at everyone in Mandarin and doing everything in his power to make

Plaintiff responsible for Defendants’ contractors’ performance delays, and for delays

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resulting from circumstances outside of Plaintiff's control. Soon after, Mr. Zhang told Sean

Murphy it was Defendants’ plan to take over and operate the site going forward.

       33. Plaintiff denies the allegations in Paragraph 33 of the Defendants’ First

Counterclaim. Answering Paragraph 33 of the First Counterclaim, Plaintiff denies the

allegation that Plaintiff refused to respond to emails requesting information so the project

could continue moving forward. Even as Defendants breached the DHS Agreement,

stopped paying Plaintiff, and Plaintiff realized it was being ousted from the project,

Plaintiff continued to meet every day with Defendants, worked around the clock for several

weeks to help to bring the facility online, and answered Defendants’ questions about

accounting, procurement, vendors, and Black Hills Energy.           Plaintiff's conduct was

professional in the weeks following Defendants' breach where Plaintiff went above and

beyond any obligation it had to Defendants after Defendants stopped paying Plaintiff and

breached the DHS Agreement.

       34. Answering Paragraph 34 of the Defendants’ First Counterclaim, Plaintiff denies

the allegation that Plaintiff’s actions caused significant delays, disruptions, and damage to

Defendants’ ability to make the facilities operational. To the contrary, it was primarily due

to Plaintiff's actions that the project continued forward and progress was made despite the

inability of several of Defendants’ contractors and vendors (specifically CEGEN and

Shermco) to perform per the terms of their respective agreements with Defendants.

       35. Plaintiff admits the allegations in Paragraph 35 of the Defendants’ First

Counterclaim. Plaintiff properly and timely performed all of its duties per Article

1, Section 6.2 of the DHS Agreement.

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       36. Answering Paragraph 36 of the Defendants’ First Counterclaim, Plaintiff denies

that it failed to properly and timely perform its Phase 1 obligations under the DHS

Agreement, and that it did not have the ability, experience, and technical expertise to

complete its Phase 2 obligations. Further, Plaintiff denies that it was to perform the Phase

2 Obligations “among other things.” Plaintiff agreed to perform the specific Phase 2

obligations documented in Article 2, section 1.2 of the DHS Agreement. The DHS

Agreement states “BCBC shall be responsible for the following during the Operation and

Maintenance Phase (the “BCBC Phase 2 Obligations”)....” This is the list of Plaintiff’s

contractual requirements for Phase 2. Plaintiff had the ability, experience, and technical

expertise to complete its Phase 2 obligations.         However, Plaintiff did not have an

opportunity to perform the majority of its Phase 2 obligations because (a) Defendants

breached the DHS Agreement around the time Phase 2 was to begin and (b) Defendants

refused to pay Plaintiff for two months of Plaintiff’s services. Nevertheless, Plaintiff had

started its Phase 2 obligations in anticipation of the start of Phase 2. Specifically, Plaintiff

had prepared a budget and requested on several occasions to meet with Defendants to

discuss it, but Defendants ignored those requests. Plaintiff had also started hiring and

training personnel to ensure that Defendants’ Phase 2 operations were conducted properly

and efficiently.

       37. Plaintiff incorporates by reference its responses to the allegations contained in

Paragraphs 1-36 of the Defendants’ First Counterclaim above as if fully set forth herein.

       38. Plaintiff admits the allegation in Paragraph 38 of the Defendants’ First

Counterclaim.


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      39. Answering Paragraph 39 of the Defendants’ First Counterclaim, Plaintiff denies

the allegation that Defendants have complied with all of its obligations under the DHS

Agreement.

      40. Plaintiff denies the allegations in Paragraph 40 of the Defendants’ First

Counterclaim. Plaintiff has addressed the false and spurious allegations in Paragraph 40

in previous responses.

      41. Plaintiff denies the allegations in Paragraph 41 of the Defendants’ First

Counterclaim.    Plaintiff fully performed its obligations for Phase 1 under the DHS

Agreement, and Plaintiff was prepared to perform its obligations under Phase 2 until

Defendants breached the DHS Agreement and refused to pay Plaintiff for two months of

services rendered.

      42. Plaintiff denies the allegations in Paragraph 42 of the Defendants’ First

Counterclaim. Defendants currently owe Plaintiff $90,000.00 for past services rendered,

$12,154.75 invoiced for reimbursements, and damages in an amount no less than

$22,000,000.00 due to Defendants’ material breach of the DHS Agreement.

      43. Plaintiff denies the allegations in Paragraph 43 of the Defendants’ First

Counterclaim.

      44. Plaintiff denies the allegations in Paragraph 44 of the Defendants’ First

Counterclaim. Only now – after Defendants tried to hire Plaintiff's site manager, Mr.

Randall, then tried to retain Plaintiff’s services to help Defendants clean up their legal

troubles with Defendants' contractors (Shermco and CEGEN), and were then sued by

Plaintiff for breaching the DHS Agreement – do the Defendants bring false, unsupported,


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and spurious counterclaims against Plaintiff for “no less than $40,000,000.” Defendants

desperately miswrite history in an effort to shift all contractual responsibility and blame to

Plaintiff. Defendants' arguments and rhetoric are a form of projection; they use post-hoc

fallacies and straw man arguments to assert false allegations and manufacture a narrative

built of mischaracterized and untrue facts. Further, in seeking damages against Plaintiff

for “no less than $40,000,000,” where, as here, the parties have a contractual limitation of

damages provision limiting Defendants’ potential damages to no more than $135,000,

Defendants only validate the financial value of the DHS Agreement, the high financial

stakes of industrial scale Bitcoin mining, and ultimately legitimize the significant monetary

value of the damages to Plaintiff.

       45.    Plaintiff denies every allegation in the Defendants’ First Counterclaim that

is not specifically admitted above.


                    DEFENDANTS’ SECOND COUNTERCLAIM
                        (Legal Fees Pursuant to Contract)

                              FACTUAL BACKGROUND

       1.     Plaintiff admits the allegation in Paragraph 1 of Defendants’ Second

Counterclaim.

       2.     Plaintiff admits the allegations in Paragraph 2 of Defendants’ Second

Counterclaim. Plaintiff denies the allegation in the second sentence of Paragraph 2, to wit:

“Plaintiff’s Chancery Court Complaint has been dismissed and Defendants are the

prevailing parties therein.” The Chancery Court case was dismissed without prejudice

under W.R.C.P.Ch. C. 3(a) “with each party to bear its own fees and costs.” And, pursuant

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to Article 18 of BCB’s DEVELOPMENT, HOSTING & SERVICE AGREEMENT with Defendant

MineOne Wyoming Data Center LLC, “The prevailing party or parties shall be the party

who is entitled to recover its costs of suit, whether or not suit if (sic) filed and whether or

not the suit proceeds to final judgment.” Because neither Plaintiff nor MineOne Wyoming

Data Center LLC was the prevailing party in the Chancery Court lawsuit, neither of them

is entitled to recover its attorney fees for the filing, or defense, of the March 15, 2023 –

May 12, 2023 Chancery Court lawsuit.

       3.     Answering Paragraph 3 of Defendants’ Second Counterclaim, Plaintiff

admits that Plaintiff’s claims stem from Plaintiff’s DEVELOPMENT, HOSTING AND

SERVICES AGREEMENT with Defendants to build and operate two Bitcoin mining facilities

in Wyoming. Plaintiff affirmatively states that Plaintiff’s claims also stem in part from

Plaintiff’s CONSULTANCY SERVICES AGREEMENT.

       4.     Plaintiff admits the allegations in Paragraph 4 of Defendants’ Second

Counterclaim.

       5.     Plaintiff admits the allegations in Paragraph 5 of Defendants’ Second

Counterclaim.

       6.     Plaintiff admits the allegations in Paragraph 6 of Defendants’ Second

Counterclaim.

       7.     Plaintiff admits the allegations in Paragraph 7 of Defendant’s Second

Counterclaim.

       8.     Answering Paragraph 8 of Defendants’ Second Counterclaim, Plaintiff

admits the allegation that, “On June 9, 2022, MineOne Wyoming Data Center LLC and


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Plaintiff entered into the DEVELOPMENT, HOSTING AND SERVICES AGREEMENT, but

Plaintiff denies the remaining allegations in Paragraph 8. The selective quote in Paragraph

8 is taken from the sentence, in the recitals, which says, “Whereas, MineOne will acquire,

develop, build, own and host a 45MW digital currency mining facility and an additional

30MW digital currency mining facility and BCBC shall then provide certain project

management and operation and maintenance services in relation to the Facilities (referred

to below) on the terms and conditions herein contained.”

       9.     Answering Paragraph 9 of Defendants’ Second Counterclaim, Plaintiff

admits that Defendants have correctly quoted part of the Attorneys’ Fees and

Disbursements’ agreement between Plaintiff and MineOne Wyoming Data Center LLC,

but the entire paragraph is quoted below as follows:


       18.    Attorneys’ fees and disbursements. In the event of any arbitration,
              litigation or other dispute between the parties in connection with the
              interpretation, performance or enforcement of this Agreement, the
              prevailing party in such arbitration, litigation or other dispute shall be
              entitled, in addition to equitable relief or damages or both or other
              relief, to be reimbursed by the non-prevailing Party for all costs and
              expenses of the arbitration, litigation, or other dispute including,
              without limitation, arbitration fees, court costs, expert witness fees,
              investigation costs and attorneys’ fees and disbursements, incurred
              therein by such prevailing party or parties and, if such prevailing party
              or parties shall recover judgment in any such action or proceedings,
              such costs, attorneys’ fees may be included in and as a part of such
              judgment. The prevailing party or parties shall be the party who is
              entitled to recover its costs of suit, whether or not suit if (sic) filed and
              whether or not the suit proceeds to final judgment. If no costs of suit
              are awarded, the arbitrator(s) or court, as applicable, shall determine
              the prevailing party.

       10.    Plaintiff denies each and every allegation in Paragraph 19 of Defendants’



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Second Counterclaim.

       11.    Plaintiff lacks sufficient information to form a belief as to the truth of the

allegations in Paragraph 11 of Defendants’ Second Counterclaim and therefore denies the

same. At many points during the project, Plaintiff reminded Defendants that Plaintiff was

doing everything within its control to complete the project as quickly as possible despite

the delays caused by MineOne’s other contractors and vendors, including CEGEN and

Shermco, and other outside forces.

       12.    Plaintiff denies the allegations in Paragraph 12 of Defendants’ Second

Counterclaim. Instead of retaining counsel in connection with Plaintiff’s alleged (but non-

existent) breach of contract and misconduct under the DEVELOPMENT, HOSTING AND

SERVICES AGREEMENT, MineOne Wyoming Data Center LLC retained counsel to defend

itself against Plaintiff’s meritorious allegations of anticipatory repudiation, breach of

contract, and breach of the implied covenant of good faith and fair dealing inherent in the

DEVELOPMENT, HOSTING AND SERVICES AGREEMENT. Further, at the time of Defendants’

anticipatory repudiation, breach of contract, and breach of the implied covenant of good

faith and fair dealing inherent in the DEVELOPMENT, HOSTING AND SERVICES AGREEMENT,

Defendant was planning to retain (or may have already retained) legal counsel against some

of its other contractors and vendors, but not Plaintiff, as evidenced by Defendant attempting

to coerce Plaintiff into signing a proposed amendment to the DEVELOPMENT, HOSTING AND

SERVICES AGREEMENT, which would provide compensation to Plaintiff for assisting

“MineOne’s legal team to start proceedings against third-parties.”           The proposed

amendment also tied part of Plaintiff’s compensation to the recovered funds from the third


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parties that Defendants would sue. As evidenced by the proposed amendment, Defendant

desired Plaintiff’s help in recovering from its contractors and vendors that had actually

breached their contractual obligations to Defendant. At no time up until Plaintiff notified

Defendants of its breaches did Defendant indicate it was retaining counsel in connection

with Plaintiff’s alleged breaches and misconduct under the DEVELOPMENT, HOSTING AND

SERVICES AGREEMENT.

       13.    Answering Paragraph 13 of Defendants’ Second Counterclaim, Plaintiff

acknowledges that MineOne Wyoming Data Center LLC’s legal fees and costs will

increase as it defends against Plaintiff’s meritorious claims, but any increase in attorneys

fees and costs has nothing to do with Plaintiff’s alleged (but non-existent) “bad faith effort

to beat MineOne Wyoming Data Center to the courthouse,” which allegation is denied.

       14.    Answering Paragraph 14 of Defendants’ Second Counterclaim, Plaintiff re-

asserts and incorporates by reference all of its admissions, denials and responses to all the

allegations in Defendants’ First and Second Counterclaims in response thereto.

       15.    Answering Paragraph 15 of Defendants’ Second Counterclaim, Plaintiff

admits the allegation that “MineOne Wyoming Data Center LLC and Plaintiff BCB are

Parties to the valid and binding DEVELOPMENT, HOSTING AND SERVICES AGREEMENT;” in

fact, they are the only Parties to the DEVELOPMENT, HOSTING AND SERVICES AGREEMENT,

and none of the other Defendants are entitled to any fees, attorneys fees or costs under

Paragraph 18 of the DEVELOPMENT, HOSTING AND SERVICES AGREEMENT as they are not

Parties to the DEVELOPMENT, HOSTING AND SERVICES AGREEMENT. Not being parties to

the DEVELOPMENT, HOSTING AND SERVICES AGREEMENT, none of the other Defendants


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can contractually recover their fees, attorney fees, expert fees, or costs from Plaintiff.

       16.    Answering Paragraph 16 of Defendants’ Second Counterclaim, Plaintiff

admits the allegation that the DEVELOPMENT, HOSTING AND SERVICES AGREEMENT

contains the attorney fee provision set forth above in Paragraph 9 of Plaintiff’s answer to

MineOne Wyoming Data Center LLC’s Second Counterclaim, but Plaintiff denies every

other allegation in Paragraph 16, and particularly Defendant MineOne Wyoming’s

characterization of the parties’ attorney fee paragraph.

       17.    Plaintiff denies Defendants’ allegation, in Paragraph 17 of the Second

Counterclaim, that MineOne Wyoming Data Center LLC has complied with all of its

obligations under the DEVELOPMENT, HOSTING AND SERVICES AGREEMENT. In fact,

MineOne Wyoming Data Center LLC anticipatorily repudiated and materially breached its

DEVELOPMENT, HOSTING AND SERVICES AGREEMENT, and did so before Plaintiff

withdrew from the site and filed this suit.

       18.    Plaintiff denies the allegations in the first sentence of Paragraph 18 of the

Second Counterclaim. Plaintiff denies the allegations in the second sentence of Paragraph

18 for all the reasons expressed in Plaintiff’s answer to Paragraph 2 of Defendants’ Second

Counterclaim.

       19.    Plaintiff denies the allegations in Paragraph 19 of Defendants’ Second

Counterclaim.

       20.    Plaintiff denies the allegations in Paragraph 20 of Defendants’ Second

Counterclaim. Defendants SonicHash LLC, Bit Origin, Ltd., MineOne Partners LLC, and

Terra Crypto Inc. are not parties to the DEVELOPMENT, HOSTING AND SERVICES


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AGREEMENT, and lack standing to seek any recovery under Paragraph 18 of the

DEVELOPMENT, HOSTING AND SERVICES AGREEMENT. Plaintiff is not liable for legal fees,

costs or disbursements to any of those four Defendants, and those four Defendants

knowingly mis-state they have some legal entitlement to their legal fees, costs and

disbursements when they know they are not parties to the DEVELOPMENT, HOSTING AND

SERVICES AGREEMENT. Plaintiff denies it is legally liable to any of the Defendants,

including MineOne Wyoming Data Center LLC, and Plaintiff is not liable to any of the

Defendants, including MineOne Wyoming Data Center LLC, for any legal fees, expert

fees, costs or disbursement.

       21.    Plaintiff denies every allegation in the Defendants’ Second Counterclaim that

is not specifically admitted above.



                     DEFENDANTS’ THIRD COUNTERCLAIM
                             (Alter Ego Liability)

       1.     Plaintiff BCB Cheyenne LLC and its seven members all deny the meritless

allegations of Defendants’ Third Counterclaim for Alter Ego Liability in paragraphs 1-6 of

Defendants’ Third Counterclaim.


                               AFFIRMATIVE DEFENSES

       COMES NOW Plaintiff BCB Cheyenne LLC d/b/a Bison Blockchain, through its

counsel, and for its Affirmative Defenses to Defendants’ First and Second Counterclaims

states as follows:

       1.     Defendants’ First and Second Counterclaims fail to state a claim upon which


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relief can be granted.

       2.     Defendants’ Counterclaims are barred by the doctrines of waiver/or estoppel.

       3.     Defendants’ Counterclaims, which are premised (at least in part) on alleged

breach(es) of contract by Plaintiff, are barred, in whole or in part, because Defendants first

materially breached the terms of the DEVELOPMENT, HOSTING & SERVICES AGREEMENT

and the CONSULTANCY SERVICES AGREEMENT, thereby excusing any further or future

performance by Plaintiff.

       4.     Defendants’ First and Second Counterclaims are barred, in whole or in part,

because Defendants’ damages, which damages are denied, were not proximately or legally

caused by, and were not the result of, action or omission of Plaintiff.

       5.     Defendants’ Counterclaims and damages, which claims and damages are

denied, are barred, in whole or in part, because the alleged damages suffered by Defendants

were the result of one or more intervening and/or superseding actions taken by Defendants,

by Defendants’ contractors (including, but not limited to those taken by CEGAN and

Shermco), slowed the commencement of mining operations at the North Range site.

       6.     Defendants’ Counterclaims are barred, in whole or in part, by Defendants’

failure to take reasonable steps to avoid and/or mitigate their damages.

       7.     Defendants’ Counterclaims are barred, in whole or in part, because

Defendants’ conduct, actions and inactions amount to and constitute bad faith.

       8.     Defendants’ Counterclaims are barred because Defendants’ conduct

constitutes unclean hands.

       9.     Defendants’ Counterclaims are barred by the equitable doctrine of unjust


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enrichment; Defendants continue to benefit, unjustly, from the valuable work and services

provided by Plaintiff.

       10.    Defendants’ Counterclaim damages, which damages are denied, are limited

to no more than $135,000 (30% of $450,000.00) pursuant to the Parties’ limitation on

liability clause and the consequential damages clause in Article VIII of the DEVELOPMENT,

HOSTING & SERVICES AGREEMENT, which provisions state, in relevant part, as follows:


                                         Article VIII

                      Limitations on Liability and indemnification

               2.     . . . Overall Limitation of Liability. Except as expressly set
       forth hereinabove, including the provisions in Article VII relating to
       MineOne Damages and BCBC Damages, in no event shall a Party and its
       affiliates be liable, alone or in the aggregate, for any breach or series of
       breach under this Agreement to the other Party for any damages, claims,
       demands, suits, causes of action, losses, costs, expenses and/or liabilities in
       excess of an amount equal to:

           (a) with respect to BCBC, thirty percent (30%) of the amounts received
       and retained by BCBC from MineOne under Article IV (if any) . . .
       as at the date of the relevant claim (each the “Maximum Liability”),
       regardless of whether such liability arises out of breach of contract, guaranty
       or warranty, tort, product liability, indemnity, contribution, strict liability, or
       any other legal theory. Any damages, claims, demands, suits, causes of
       action, losses, costs, expense and/or liabilities of a Party and its affiliates
       arising under this Agreement shall be applied toward the foregoing aggregate
       liability cap (i.e., shall reduce such Party’s liability under this Agreement on
       a dollar-for-dollar basis).

              3.     Consequential Damages. Unless           otherwise     expressly
       provided for in this Agreement, the Parties hereto waive all claims against
       each other (and against the parent companies and affiliates of each, and their
       respective members, shareholders, officers, directors, agents and employees)
       for any consequential, incidental, indirect, special, exemplary or punitive
       damages (including loss of actual or anticipated profits, revenues or product;
       loss by reason of shutdown or non-operation; increased expense or operation,


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       borrowing or financing; loss of use or productivity; and increased cost of
       capital) arising out of this Agreement; and, regardless of whether any such
       claim arises out of breach of contract, guaranty or warranty, tort, product
       liability, indemnity, contribution, strict liability or any other legal theory, and
       each Party hereto hereby releases the other Parties from any such liability.

       11.    Plaintiff and its seven members have no alter ego liability to Defendants

under the factors and analysis in WYO. STAT. § 17-29-304(c)(i-iv): Plaintiff and its

members have committed no fraud; BCB was not inadequately capitalized; BCB observed

company formalities as required by law; BCB did not intermingle the assets, business

operations, and finances of the company and the members to such an extent that there is no

distinction between them.

       12.    Defendants Third Counterclaim for Alter Ego Liability is a meritless claim

without any basis in law or fact. It constitutes a Rule 11, F. R. Civ. P. violation.

       13.    Plaintiff reserves the right to assert additional affirmative defenses as they

may become known during the course of discovery.

       WHEREFORE, Plaintiff prays that Defendants take nothing on their First, Second,

and Third Counterclaims; that judgment be entered in favor of Plaintiff and against

Defendants on their First, Second, and Third Counterclaims; that Plaintiff recover its

attorney fees, expert witness fees and costs for defending against Defendants’ First,

Second, and Third Counterclaims pursuant to Paragraph 18 of the DEVELOPMENT,

HOSTING & SERVICES AGREEMENT, and for such other and further relief as the Court deems

just and proper.


       Respectfully submitted this 5th day of October, 2023.



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                                         BCB CHEYENNE LLC d/b/a
                                         BISON BLOCKCHAIN,

                                         Plaintiff

                                By:      /s/ Patrick J. Murphy
                                         Patrick J. Murphy (WSB No. 5-1779)
                                         Scott C. Murray (WSB No. 7-4896)
                                         Williams, Porter, Day & Neville, PC
                                         159 N Wolcott St. Suite 400
                                         Casper, WY 82601
                                         Ph: (307) 265-0700
                                         pmurphy@wpdn.net
                                         smurray@wpdn.net

                                         Attorneys for Plaintiff


                          CERTIFICATE OF SERVICE

      The undersigned does hereby certify that a true and correct copy of Plaintiff’s
Answer to Defendants’ First, Second, and Third Counterclaims was delivered to the
Court via the CM/ECF System and served upon counsel via CM/ECF electronic
transmission this 5th day of October, 2023.

     Sean M. Larson, WSB No. 7-5112                  U.S. Mail (Postage Prepaid)
     HATHAWAY & KUNZ, LLP                            Fax
     P.O. Box 1208                                   Overnight Delivery
     Cheyenne, WY 82001                              Hand Delivery
     slarson@hkwyolaw.com                            CM/ECF Email

     Paula Colbath, Pro Hac Vice                     U.S. Mail (Postage Prepaid)
     Sarah Levitan Perry, Pro Hac Vice               Fax
     LOEB & LOEB LLP                                 Overnight Delivery
     345 Park Avenue                                 Hand Delivery
     NewYork, NY 10154                               CM/ECF Email
     pcolbath@loeb.com
     sperry@loeb.com

                                /s/ Patrick J. Murphy
                                  Patrick J. Murphy



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